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                                   8                                UNITED STATES DISTRICT COURT

                                   9                               NORTHERN DISTRICT OF CALIFORNIA

                                  10                                      San Francisco Division

                                  11     BRYON U. JACKSON,                             Case No. 21-cv-08458-LB
                                  12                  Plaintiff,
Northern District of California




                                                                                       FINAL JURY INSTRUCTIONS
 United States District Court




                                  13            v.

                                  14     TARGET CORPORATION,
                                  15                  Defendant.

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                                       FINAL JURY INSTRUCTIONS – No. 21-cv-08458-LB
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                                                                              1.4: DUTY OF JURY
                                   1
                                           Members of the Jury: Now that you have heard all of the evidence and the arguments of the
                                   2   attorneys, it is my duty to instruct you on the law that applies to this case.
                                   3      Each of you has received a copy of these instructions and the verdict form that you may take
                                       with you to the jury room to consult during your deliberations.
                                   4
                                           It is your duty to find the facts from all the evidence in the case. To those facts you will apply
                                   5   the law as I give it to you. You must follow the law as I give it to you whether you agree with it or
                                       not. And you must not be influenced by any personal likes or dislikes, opinions, prejudices, or
                                   6   sympathy. That means that you must decide the case solely on the evidence before you. You will
                                       recall that you took an oath to do so.
                                   7
                                           Please do not read into these instructions or anything that I may say or do or have said or done
                                   8   that I have an opinion regarding the evidence or what your verdict should be.
                                   9
                                                 1.6: BURDEN OF PROOF — PREPONDERANCE OF THE EVIDENCE
                                  10
                                          When a party has the burden of proving any claim by a preponderance of the evidence, it
                                  11   means you must be persuaded by the evidence that the claim or affirmative defense is more
                                       probably true than not true.
                                  12
Northern District of California




                                          You should base your decision on all of the evidence, regardless of which party presented it.
 United States District Court




                                  13

                                  14                                       1.9: WHAT IS EVIDENCE
                                  15      The evidence you are to consider in deciding what the facts are consists of:
                                  16                  1.      the sworn testimony of any witness;
                                  17                  2.      the exhibits that are admitted into evidence;
                                  18                  3.      any facts to which the lawyers have agreed; and
                                  19                  4.      any facts that I may instruct you to accept as proved.
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                                       FINAL JURY INSTRUCTIONS – No. 21-cv-08458-LB 2
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                                                                      1.10: WHAT IS NOT EVIDENCE
                                   1
                                           In reaching your verdict, you may consider only the testimony and exhibits received into
                                   2   evidence. Certain things are not evidence, and you may not consider them in deciding what the
                                       facts are. I will list them for you:
                                   3
                                              1.      Arguments and statements by lawyers are not evidence. The lawyers are not
                                   4                  witnesses. What they may say in their opening statements, closing arguments and at
                                                      other times is intended to help you interpret the evidence, but it is not evidence. If
                                   5                  the facts as you remember them differ from the way the lawyers have stated them,
                                                      your memory of them controls.
                                   6
                                              2.      Questions and objections by lawyers are not evidence. Attorneys have a duty to their
                                   7                  clients to object when they believe a question is improper under the rules of evidence.
                                                      You should not be influenced by the objection or by the court’s ruling on it.
                                   8
                                              3.      Testimony that is excluded or stricken, or that you have been instructed to
                                   9                  disregard, is not evidence and must not be considered. In addition, some evidence
                                                      may be received only for a limited purpose; when I instruct you to consider certain
                                  10                  evidence only for a limited purpose, you must do so, and you may not consider that
                                                      evidence for any other purpose.
                                  11
                                              4.      Anything you may see or hear when the court was not in session is not evidence. You
                                  12                  are to decide the case solely on the evidence received at the trial.
Northern District of California
 United States District Court




                                  13
                                                                1.11: EVIDENCE FOR LIMITED PURPOSE
                                  14
                                          Some evidence may be admitted only for a limited purpose.
                                  15
                                          When I instruct you that an item of evidence has been admitted only for a limited purpose, you
                                  16   must consider it only for that limited purpose and not for any other purpose.
                                  17
                                                          1.12: DIRECT AND CIRCUMSTANTIAL EVIDENCE
                                  18
                                           Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact, such as
                                  19   testimony by a witness about what that witness personally saw or heard or did. Circumstantial
                                       evidence is proof of one or more facts from which you could find another fact. You should
                                  20   consider both kinds of evidence. The law makes no distinction between the weight to be given to
                                       either direct or circumstantial evidence. It is for you to decide how much weight to give to any
                                  21   evidence.
                                  22       By way of example, if you wake up in the morning and see that the sidewalk is wet, you may
                                       find from that fact that it rained during the night. However, other evidence, such as a turned-on
                                  23   garden hose, may provide a different explanation for the presence of water on the sidewalk.
                                       Therefore, before you decide that a fact has been proved by circumstantial evidence, you must
                                  24   consider all the evidence in the light of reason, experience, and common sense.
                                  25

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                                       FINAL JURY INSTRUCTIONS – No. 21-cv-08458-LB 3
                                          Case 3:21-cv-08458-LB Document 159 Filed 02/26/24 Page 4 of 12



                                                                       1.13: RULING ON OBJECTIONS
                                   1
                                          There are rules of evidence that control what can be received into evidence. When a lawyer
                                   2   asks a question or offers an exhibit into evidence and a lawyer on the other side thinks that it is not
                                       permitted by the rules of evidence, that lawyer may object. If I overrule the objection, the question
                                   3   may be answered, or the exhibit received. If I sustain the objection, the question cannot be
                                       answered, and the exhibit cannot be received. Whenever I sustain an objection to a question, you
                                   4   must ignore the question and must not guess what the answer might have been.
                                   5        Sometimes I may order that evidence be stricken from the record and that you disregard or
                                       ignore that evidence. That means when you are deciding the case, you must not consider the
                                   6   stricken evidence for any purpose.
                                   7
                                                                    1.14: CREDIBILITY OF WITNESSES
                                   8
                                            In deciding the facts in this case, you may have to decide which testimony to believe and
                                   9   which testimony not to believe. You may believe everything a witness says, or part of it, or none
                                       of it.
                                  10
                                          In considering the testimony of any witness, you may take into account:
                                  11
                                              1.      the opportunity and ability of the witness to see or hear or know the things testified
                                  12                  to;
Northern District of California
 United States District Court




                                  13          2.      the witness’s memory;

                                  14          3.      the witness’s manner while testifying;

                                  15          4.      the witness’s interest in the outcome of the case, if any;

                                  16          5.      the witness’s bias or prejudice, if any;

                                  17          6.      whether other evidence contradicted the witness’s testimony;

                                  18          7.      the reasonableness of the witness’s testimony in light of all the evidence; and

                                  19          8.      any other factors that bear on believability.

                                  20       Sometimes a witness may say something that is not consistent with something else he or she
                                       said. Sometimes different witnesses will give different versions of what happened. People often
                                  21   forget things or make mistakes in what they remember. Also, two people may see the same event
                                       but remember it differently. You may consider these differences, but do not decide that testimony
                                  22   is untrue just because it differs from other testimony.

                                  23       However, if you decide that a witness has deliberately testified untruthfully about something
                                       important, you may choose not to believe anything that witness said. On the other hand, if you
                                  24   think the witness testified untruthfully about some things but told the truth about others, you may
                                       accept the part you think is true and ignore the rest.
                                  25
                                           The weight of the evidence as to a fact does not necessarily depend on the number of witnesses
                                  26   who testify. What is important is how believable the witnesses were, and how much weight you
                                       think their testimony deserves.
                                  27

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                                       FINAL JURY INSTRUCTIONS – No. 21-cv-08458-LB 4
                                          Case 3:21-cv-08458-LB Document 159 Filed 02/26/24 Page 5 of 12



                                                                     1.16: PUBLICITY DURING TRIAL
                                   1
                                           If there is any news media account or commentary about the case or anything to do with it, you
                                   2   must ignore it. You must not read, watch, or listen to any news media account or commentary
                                       about the case or anything to do with it. The case must be decided by you solely and exclusively
                                   3   on the evidence that will be received in the case and on my instructions as to the law that applies.
                                       If any juror is exposed to any outside information, please notify me immediately.
                                   4

                                   5                          1.17: NO TRANSCRIPT AVAILABLE TO JURY
                                   6      During deliberations you will not have a transcript of the trial testimony.
                                   7
                                                                            1.18: TAKING NOTES
                                   8
                                           Whether or not you took notes, you should rely on your own memory of the evidence. Notes
                                   9   are only to assist your memory. You should not be overly influenced by your notes or those of
                                       other jurors.
                                  10
                                                              1.20 BENCH CONFERENCES AND RECESSES
                                  11
                                           From time to time during the trial, it became necessary for me to talk with the attorneys out of
                                  12   the hearing of the jury, either by having a conference at the bench when the jury was present in the
Northern District of California




                                       courtroom, or by calling a recess. Please understand that while you were waiting, we were
 United States District Court




                                  13   working. The purpose of these conferences is not to keep relevant information from you, but to
                                       decide how certain evidence is to be treated under the rules of evidence and to avoid confusion
                                  14   and error.
                                  15      Of course, we have done what we could to keep the number and length of these conferences to
                                       a minimum. I did not always grant an attorney’s request for a conference. Do not consider my
                                  16   granting or denying a request for a conference as any indication of my opinion of the case or of
                                       what your verdict should be.
                                  17
                                                                       2.2: STIPULATIONS OF FACT
                                  18
                                          The parties have agreed to certain facts placed in evidence as Exhibit 2 and read to you. You
                                  19   must therefore treat these facts as having been proved.
                                  20
                                                              2.9: IMPEACHMENT EVIDENCE — WITNESS
                                  21
                                           The evidence that a witness gave an inconsistent statement under oath on a prior occasion may
                                  22   be considered, along with all other evidence, in deciding whether or not to believe the witness and
                                       how much weight to give to the testimony of the witness and for no other purpose.
                                  23

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                                       FINAL JURY INSTRUCTIONS – No. 21-cv-08458-LB 5
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                                   1                           2.16: EVIDENCE IN ELECTRONIC FORMAT
                                   2       Those exhibits received in evidence that are capable of being displayed electronically will be
                                       provided to you in that form, and you will be able to view them in the jury room. A computer,
                                   3   projector, printer and accessory equipment will be available to you in the jury room.
                                   4       A court technician will show you how to operate the computer and other equipment; how to
                                       locate and view the exhibits on the computer; and how to print the exhibits. You will also be
                                   5   provided with a paper list of all exhibits received in evidence. You may request a paper copy of
                                       any exhibit received in evidence by sending a note through the clerk.) If you need additional
                                   6   equipment or supplies or if you have questions about how to operate the computer or other
                                       equipment, you may send a note to the clerk, signed by your foreperson or by one or more
                                   7   members of the jury. Do not refer to or discuss any exhibit you were attempting to view.
                                   8       If a technical problem or question requires hands-on maintenance or instruction, a court
                                       technician may enter the jury room with the clerk present for the sole purpose of assuring that the
                                   9   only matter that is discussed is the technical problem. When the court technician or any nonjuror is
                                       in the jury room, the jury shall not deliberate. No juror may say anything to the court technician or
                                  10   any nonjuror other than to describe the technical problem or to seek information about operation
                                       of the equipment. Do not discuss any exhibit or any aspect of the case.
                                  11
                                           The sole purpose of providing the computer in the jury room is to enable jurors to view the
                                  12   exhibits received in evidence in this case. You may not use the computer for any other purpose. At
Northern District of California




                                       my direction, technicians have taken steps to ensure that the computer does not permit access to
 United States District Court




                                  13   the Internet or to any “outside” website, database, directory, game, or other material. Do not
                                       attempt to alter the computer to obtain access to such materials. If you discover that the computer
                                  14   provides or allows access to such materials, you must inform the court immediately and refrain
                                       from viewing such materials. Do not remove the computer or any electronic data from the jury
                                  15   room, and do not copy any such data.
                                  16

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                                       FINAL JURY INSTRUCTIONS – No. 21-cv-08458-LB 6
                                          Case 3:21-cv-08458-LB Document 159 Filed 02/26/24 Page 7 of 12




                                                                        1.5: CLAIMS AND DEFENSES
                                   1
                                           To help you follow the evidence, I will give you a brief summary of the positions of the
                                   2   parties:
                                   3       Plaintiff Bryon Jackson asserts that defendant Target Corporation’s employee negligently
                                       struck him with a shopping cart while he was inside a Target location in Alameda, California, and
                                   4   that he suffered damage as a result. Mr. Jackson brings his claim under California common law.
                                       Mr. Jackson has the burden of proving these claims.
                                   5
                                          Target denies those claims.
                                   6

                                   7                    4.1: NEGLIGENCE—ESSENTIAL FACTUAL ELEMENTS
                                   8       Bryon Jackson claims that he was harmed by Target Corporation’s negligence. To establish
                                       this claim, Bryon Jackson must prove all of the following:
                                   9
                                                  1. That Target Corporation was negligent;
                                  10              2. That Bryon Jackson was harmed; and
                                                  3. That Target Corporation’s negligence was a substantial factor in causing Bryon
                                  11                 Jackson’s harm.
                                  12
Northern District of California




                                                                     4.2: BASIC STANDARD OF CARE
 United States District Court




                                  13
                                          Negligence is the failure to use reasonable care to prevent harm to oneself or to others.
                                  14
                                          A person can be negligent by acting or by failing to act. A person is negligent if he or she does
                                  15   something that a reasonably careful person would not do in the same situation or fails to do
                                       something that a reasonably careful person would do in the same situation.
                                  16
                                           You must decide how a reasonably careful person would have acted in the plaintiff and the
                                  17   defendant's situation.
                                  18                           4.3: CAUSATION—SUBSTANTIAL FACTOR
                                  19      A substantial factor in causing harm is a factor that a reasonable person would consider to have
                                       contributed to the harm. It must be more than a remote or trivial factor. It does not have to be the
                                  20   only cause of the harm.
                                  21
                                                              4.4: UNUSUALLY SUSCEPTIBLE PLAINTIFF
                                  22
                                          You must decide the full amount of money that will reasonably and fairly compensate plaintiff
                                  23   Bryon Jackson for all damages caused by the wrongful conduct of defendant Target Corporation,
                                       even if Mr. Jackson was more susceptible to injury than a normally healthy person would have
                                  24   been, and even if a normally healthy person would not have suffered similar injury.
                                  25

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                                                        4.5: INTRODUCTION TO VICARIOUS RESPONSIBILITY
                                   1
                                           One may authorize another to act on one’s behalf in transactions with third persons. This
                                   2   relationship is called “agency.” The person giving the authority is called the “principal”; the
                                       person to whom authority is given is called the “agent.”
                                   3
                                           An employer is responsible for harm caused by the wrongful conduct of their employees while
                                   4   acting within the scope of their employment.
                                   5       An employee is always responsible for harm caused by their own wrongful conduct, whether
                                       or not the employer is also liable.
                                   6

                                   7     4.6: TORT LIABILITY ASSERTED AGAINST PRINCIPAL - ESSENTIAL FACTUAL
                                                                      ELEMENTS
                                   8
                                          Plaintiff Bryon Jackson claims that he was harmed by Kimara Smith’s negligence.
                                   9
                                          Mr. Jackson also claims that Defendant Target Corporation is responsible for the harm because
                                  10   Ms. Smith was acting as their employee when the incident occurred.
                                  11      If you find that Ms. Smith’s negligence harmed Mr. Jackson, then you must decide whether
                                       Target Corporation is responsible for the harm. Target Corporation is responsible if Mr. Jackson
                                  12   proves both of the following:
Northern District of California
 United States District Court




                                  13      1. Kimara Smith was Target’s employee; and
                                  14      2. Kimara Smith was acting within the scope of her employment when she harmed Mr. Jackson
                                  15
                                                                       4.7: SCOPE OF EMPLOYMENT
                                  16
                                          Plaintiff Bryon Jackson must prove that Kimara Smith was acting within the scope of her
                                  17   employment when Mr. Jackson was harmed.
                                  18      Conduct is within the scope of employment if:
                                  19      (a) It is reasonably related to the kinds of tasks that the employee was employed to perform; or
                                  20      (b) It is reasonably foreseeable in light of the employer’s business or the employee’s job
                                              responsibilities.
                                  21

                                  22           5.1: INTRODUCTION TO TORT DAMAGES—LIABILITY CONTESTED
                                  23       If you decide that plaintiff Bryon Jackson has proved his claim against defendant Target
                                       Corporation, you also must decide how much money will reasonably compensate Mr. Jackson for
                                  24   the harm. This compensation is called “damages.”
                                  25       The amount of damages must include an award for each item of harm that was caused by
                                       defendant Target Corporation’s wrongful conduct, even if the particular harm could not have been
                                  26   anticipated.
                                  27       Plaintiff Bryon Jackson does not have to prove the exact amount of damages that will provide
                                       reasonable compensation for the harm. However, you must not speculate or guess in awarding
                                  28   damages.

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                                                    5.2: MEDICAL EXPENSES — FUTURE (ECONOMIC DAMAGE)
                                   1
                                           To recover damages for future medical expenses, Bryon Jackson must prove the reasonable
                                   2   cost of reasonably necessary medical care that he is reasonably certain to need in the future.
                                   3
                                                 5.3: PAST AND FUTURE LOST EARNINGS (ECONOMIC DAMAGE)
                                   4
                                           To recover damages for past lost earnings, plaintiff Bryon Jackson must prove the amount of
                                   5   earnings that he has lost to date.
                                   6      To recover damages for future lost earnings, Bryon Jackson must prove the amount of earnings
                                       he will be reasonably certain to lose in the future as a result of the injury.
                                   7

                                   8                   5.4: LOST EARNING CAPACITY (ECONOMIC DAMAGE)
                                   9      To recover damages for the loss of the ability to earn money as a result of the injury, plaintiff
                                       Bryon Jackson must prove the reasonable value of that loss to him. It is not necessary that he have
                                  10   a work history.
                                  11
                                            5.5: PHYSICAL PAIN, MENTAL SUFFERING, AND EMOTIONAL DISTRESS
                                  12
Northern District of California




                                           Past and future physical pain, mental pain, loss of enjoyment of life, physical impairment, and
 United States District Court




                                  13   inconvenience.
                                  14       No fixed standard exists for deciding the amount of these noneconomic damages. You must
                                       use your judgment to decide a reasonable amount based on the evidence and your common sense.
                                  15
                                            To recover for future physical pain and suffering, Mr. Jackson must prove that he is reasonably
                                  16   certain to suffer that harm. For future physical pain, determine the amount in current dollars paid
                                       at the time of judgment that will compensate Mr. Jackson for future pain and suffering.
                                  17

                                  18                                   5.6: NO PUNITIVE DAMAGES
                                  19       You must not include in your award any damages to punish or make an example of Defendant
                                       Target Corporation. Such damages would be punitive damages, and they cannot be a part of your
                                  20   verdict. You must award only the damages that fairly compensate plaintiff Bryon Jackson for his
                                       loss.
                                  21
                                                        5.7: MITIGATION OF DAMAGES (PERSONAL INJURY)
                                  22
                                          If you decide defendant Target Corporation is responsible for the original harm, Plaintiff
                                  23   Bryon Jackson is not entitled to recover damages for harm that Target Corporation proves Bryon
                                       Jackson could have avoided with reasonable efforts or expenditures.
                                  24
                                           You should consider the reasonableness of Bryon Jackson’s efforts in light of the
                                  25   circumstances facing her at the time, including his ability to make the efforts or expenditures
                                       without undue risk or hardship.
                                  26
                                           If Bryon Jackson made reasonable efforts to avoid harm, then your award should include
                                  27   reasonable amounts that he spent for this purpose.
                                  28

                                       FINAL JURY INSTRUCTIONS – No. 21-cv-08458-LB 9
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                                                 5.8: COMPARATIVE FAULT OF PLAINTIFF — GENERAL VERDICT
                                   1
                                           If you decide that plaintiff Bryon Jackson’s negligence combined with defendant Target
                                   2   Corporation’s negligence/conduct in causing Mr. Jackson’s harm, then you must decide the
                                       percentage of responsibility for the harm that you attribute to each of them.
                                   3
                                           First, decide the total amount of Mr. Jackson’s damages. Then decide the percentage of
                                   4   responsibility that Bryon Jackson and Target Corporation have for the damages. Then reduce the
                                       total damages by the percentage of responsibility that you attribute to Bryon Jackson.
                                   5
                                          After you make these calculations, state the reduced damage award in your verdict.
                                   6

                                   7                                     3.1: DUTY TO DELIBERATE
                                   8       Before you begin your deliberations, elect one member of the jury as your presiding juror. The
                                       presiding juror will preside over the deliberations and serve as the spokesperson for the jury in
                                   9   court.

                                  10      You shall diligently strive to reach agreement with all of the other jurors if you can do so.
                                       Your verdict must be unanimous.
                                  11
                                          Each of you must decide the case for yourself, but you should do so only after you have
                                  12   considered all of the evidence, discussed it fully with the other jurors, and listened to their views.
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                                  13       It is important that you attempt to reach a unanimous verdict but, of course, only if each of you
                                       can do so after having made your own conscientious decision. Do not be unwilling to change your
                                  14   opinion if the discussion persuades you that you should. But do not come to a decision simply
                                       because other jurors think it is right or change an honest belief about the weight and effect of the
                                  15   evidence simply to reach a verdict.
                                  16

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                                       FINAL JURY INSTRUCTIONS – No. 21-cv-08458-LB 10
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                                                  3.2: CONSIDERATION OF EVIDENCE — CONDUCT OF THE JURY
                                   1
                                           Because you must base your verdict only on the evidence received in the case and on these
                                   2   instructions, I remind you that you must not be exposed to any other information about the case or
                                       to the issues it involves. Except for discussing the case with your fellow jurors during your
                                   3   deliberations:
                                   4           Do not communicate with anyone in any way and do not let anyone else communicate with
                                               you in any way about the merits of the case or anything to do with it. This includes
                                   5           discussing the case in person, in writing, by phone, tablet, computer, or any other means,
                                               via email, via text messaging, or any internet chat room, blog, website or application,
                                   6           including but not limited to Facebook, YouTube, Twitter, Instagram, LinkedIn, Snapchat,
                                               TikTok, or any other forms of social media. This applies to communicating with your
                                   7           family members, your employer, the media or press, and the people involved in the trial. If
                                               you are asked or approached in any way about your jury service or anything about this
                                   8           case, you must respond that you have been ordered not to discuss the matter and to report
                                               the contact to the court.
                                   9
                                               Do not read, watch, or listen to any news or media accounts or commentary about the case
                                  10           or anything to do with it, although I have no information that there will be news reports
                                               about this case; do not do any research, such as consulting dictionaries, searching the
                                  11           Internet, or using other reference materials; and do not make any investigation or in any
                                               other way try to learn about the case on your own. Do not visit or view any place discussed
                                  12           in this case, and do not use Internet programs or other devices to search for or view any
Northern District of California




                                               place discussed during the trial. Also, do not do any research about this case, the law, or
 United States District Court




                                  13           the people involved — including the parties, the witnesses, or the lawyers — until you
                                               have been excused as jurors. If you happen to read or hear anything touching on this case
                                  14           in the media, turn away and report it to me as soon as possible.
                                  15        These rules protect each party’s right to have this case decided only on evidence that has been
                                       presented here in court. Witnesses here in court take an oath to tell the truth, and the accuracy of
                                  16   their testimony is tested through the trial process. If you do any research or investigation outside
                                       the courtroom, or gain any information through improper communications, then your verdict may
                                  17   be influenced by inaccurate, incomplete, or misleading information that has not been tested by the
                                       trial process. Each of the parties is entitled to a fair trial by an impartial jury, and if you decide the
                                  18   case based on information not presented in court, you will have denied the parties a fair trial.
                                       Remember, you have taken an oath to follow the rules, and it is very important that you follow
                                  19   these rules.
                                  20       A juror who violates these restrictions jeopardizes the fairness of these proceedings, and a
                                       mistrial could result that would require the entire trial process to start over. If any juror is exposed
                                  21   to any outside information, please notify the court immediately.
                                  22
                                                                    3.3: COMMUNICATION WITH COURT
                                  23
                                           If it becomes necessary during your deliberations to communicate with me, you may send a
                                  24   note through the clerk, signed by any one or more of you. No member of the jury should ever
                                       attempt to communicate with me except by a signed writing. I will not communicate with any
                                  25   member of the jury on anything concerning the case except in writing or here in open court. If you
                                       send out a question, I will consult with the lawyers before answering it, which may take some
                                  26   time. You may continue your deliberations while waiting for the answer to any question.
                                       Remember that you are not to tell anyone — including the court — how the jury stands, whether
                                  27   in terms of vote count or otherwise, until after you have reached a unanimous verdict or have been
                                       discharged.
                                  28

                                       FINAL JURY INSTRUCTIONS – No. 21-cv-08458-LB 11
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                                                                        3.5: RETURN OF VERDICT
                                   1
                                          A verdict form has been prepared for you. After you have reached unanimous agreement on a
                                   2   verdict, your presiding juror should complete the verdict form according to your deliberations,
                                       sign and date it, and advise the clerk that you are ready to return to the courtroom.
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Northern District of California
 United States District Court




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                                       FINAL JURY INSTRUCTIONS – No. 21-cv-08458-LB 12
